           Case 2:08-cr-00159-JLR          Document 6       Filed 05/13/08     Page 1 of 3




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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. MJ 08-220
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   GUSTAVO ROJO-MELENDREZ,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged: Possession with Intent to Distribute Cocaine

15 Date of Detention Hearing:     May 13 , 2008

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably assure

19 the appearance of defendant as required and the safety of other persons and the community.

20         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

21          1.     Defendant is a United States citizen. He attained his 18th birthday approximately

22 one month ago. He has strong family ties to Mexico, and asserts that he came to the United States

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
     PAGE 1
            Case 2:08-cr-00159-JLR         Document 6       Filed 05/13/08      Page 2 of 3




01 in order to obtain a United States passport.

02          2.     Defendant does not have a strong work history in this country. He began working

03 for a close family friend at a lawn care business but stopped coming. He has few financial

04 resources in this country. He was educated in Mexico. His cousin has been indicted in a related

05 case.

06          3.     The AUSA proffers that the location at which defendant was arrested was a “stash

07 house”, at which 16 kilos of cocaine and a loaded gun were seized. Case agents alleged 14

08 observed the defendant on the premises on prior occasions and the defendant’s identification

09 documents and one kilo of cocaine were found in the bedroom pursuant to a search. When

10 arrested, the defendant allegedly had cocaine and a large quantity of cash on his possession.

11          4.     The defendant poses a risk of nonappearance due to extensive family ties to

12 Mexico, long term residence in Mexico and limited ties to this District. He poses a risk of danger

13 due to the nature of the charges.

14          5.     There does not appear to be any condition or combination of conditions that will

15 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

16 to other persons or the community.

17 It is therefore ORDERED:

18          (1)    Defendant shall be detained pending trial and committed to the custody of the

19                 Attorney General for confinement in a correction facility separate, to the extent

20                 practicable, from persons awaiting or serving sentences or being held in custody

21                 pending appeal;

22          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
     PAGE 2
          Case 2:08-cr-00159-JLR         Document 6       Filed 05/13/08      Page 3 of 3




01               counsel;

02         (3)   On order of a court of the United States or on request of an attorney for the

03               Government, the person in charge of the corrections facility in which defendant is

04               confined shall deliver the defendant to a United States Marshal for the purpose of

05               an appearance in connection with a court proceeding; and

06         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

07               counsel for the defendant, to the United States Marshal, and to the United States

08               Pretrial Services Officer.

09         DATED this 13th day of May, 2008.



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11                                             Mary Alice Theiler
                                               United States Magistrate Judge
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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
     PAGE 3
